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 8                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 9                                     TACOMA DIVISION

10   STEVEN S. WARD,                                       Civil No. 3:20-CV-05653-RSM

11            Plaintiff,

12            vs.                                          ORDER

13   COMMISSIONER OF SOCIAL SECURITY,

14            Defendant.

15   Based on Defendant’s Motion, it is hereby ORDERED that the Answer due date shall be

16   amended as follows:

17
     Defendant shall have up to and including November 24, 2020, to file a response to Plaintiff’s
18
     Complaint, including the certified administrative record. The certified administrative record shall
19
     be filed within ten days of its availability to the Office of the General Counsel, if it can be filed
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     earlier than the aforementioned date.
21

22   If the Commissioner is unable to file the certified administrative record by that date, the

23   Commissioner shall file another motion for extension every 28 days until the certified

24   administrative record becomes available.

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              Case 3:20-cv-05653-RSM Document 10 Filed 10/27/20 Page 2 of 2



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     DATED this 27th day of October, 2020.
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 4                                              A
                                                RICARDO S. MARTINEZ
 5                                              CHIEF UNITED STATES DISTRICT JUDGE
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 8
     Presented by:
 9
     s/ Katherine B. Watson
10   KATHERINE B. WATSON
     Special Assistant United States Attorney
11   Office of the General Counsel
     Social Security Administration
12   701 Fifth Avenue, Suite 2900 M/S 221A
     Seattle, WA 98104-7075
13   Telephone: (206) 615-2139
     Fax: (206) 615-2531
14   katherine.watson@ssa.gov
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